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                     Exhibit 1
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                                    Leeds Brown Law, P.C.
                                       Firm Biography

       Leeds Brown Law, P.C. (“LBL”) has considerable experience litigating class action
lawsuits, especially those in state and federal courts in New York. See e.g., Griffin v. Aldi, Inc.
16-cv-00354-LEK-ATB (N.D.N.Y. Nov. 15, 2018) (working with the other firms to obtain final
approval of $9.8 million settlement on behalf of store managers across the nation); Weinstein v.
Jenny Craig Operations, Inc., 138 A.D.3d 546 (1st Dept. 2016) (upholding certification of
employees at Jenny Craig’s branches and locations in New York); Marcus v. AXA Advisors,
LLC, 11-CV-2339 (SJ)(SMG) (E.D.N.Y. Oct. 21, 2015) (granting nationwide conditional
certification under the FLSA of over 2,000 financial service workers before approving class
wide settlement). Booth v. Molloy College, 2022 N.Y. Slip Op 34476(U) (Sup. Ct. Nassau Cty.,
Dec. 12, 2022) (granting class certification as to all enrolled students during the Spring 2020
semester and appointing Leeds Brown Law as class counsel); Stewart v. Univ. of Maine System,
Civil Action Docket No. CV-20-537 (Me. Superior Ct., Cumberland Cnty., Sept. 8, 2023)
(granting class certification with LBL serving as Class Counsel, along with co-counsel); Kellogg
v. WSP USA, Inc., Index No. 605552/2024 (Sup. Ct. Nassau Cty. Aug. 1, 2024) (granting
approval of class settlement of $15,000,000 for manual workers throughout the NYC area);
Arredondo v. Univ. of La Verne, 618 F. Supp. 3d 937 (C.D. Cal. 2022) (winning summary
judgment on behalf of the class of undergraduate students on liability before ultimately resolving
the action for more than $8.5 million).

      Recently, LBL along with co-counsel was recognized for its work as Class Counsel
representing students of Roadmaster Drivers School. At the September 18, 2024 Fairness
Hearing, the Honorable John M. Gallagher of the Eastern District of Pennsylvania
acknowledged Counsel’s efforts, stating: “… [A]s to the work Counsel has put in its -- from
where I’m sitting, it’s been substantial, and it’s been first rate.” (Transcript at 36: 12-19);
“[E]ach [of the firms] has represented their client with zeal and vigor.” (Id. at 26). See Meehan
v. Roadmaster Drivers School, Inc., Case No. 5:22-cv-04299-JMG (E.D. Pa. Sept. 18, 2024).

      Additionally, LBL secured a decision from the New York Appellate Division, Second
Department, that acknowledged two new causes of action and extended worker protections to
temporary staffing workers. See Membrives v. HHC TRS FP Portfolio, 196 A.D.3d 560 (2d
Dept.2021). During February 2022, LBL was recognized for its work on behalf of students at
the University of La Verne that alleged that failed to receive the services they contracted and
paid for. See Arredondo v. Univ. of La Verne, Case No. 2:20-cv-7665(MCS)(RAO), 341 F.R.D.
47 (C.D. Cal. Feb. 8, 2022):

          Counsel here has done significant work in identifying and investigating
          potential claims, including bringing a meritorious motion for class
          certification supported by ample evidence. Counsel also has a wealth of
          experience handling class actions. [Citing the declaration of Michael A.
          Tompkins]. The only firm without substantial class action experience,
          Charon Law, has experienced co-counsel as support… Counsel has
          demonstrated strong knowledge of the applicable law throughout the
          briefing process for this class certification motion. And finally, counsel has
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          demonstrated it will commit sufficient resources to represent the class in this
          heavily litigated case.

       In Stewart v. Univ. of Maine System, the Court held that “[LBL along with co-counsel]
has demonstrable expertise litigating COVID-19 university tuition refund class action lawsuits.”
Additionally, LBL was appointed to serve on the executive committee in the matter Wilson v.
Walmart Inc., Case No. 3:21-CV-00082(DPM), wherein it is alleged that the makers and
distributors of baby food failed to disclose that its products contained elevated amounts of toxic
heavy metals -- in accordance with a U.S. House of Representative Report by the Subcommittee
on Economic and Consumer Policy Committee on Oversight and Reform (Feb. 4, 2021);

       Leeds Brown Law, P.C. also has substantial experience settling class actions in state and
federal courts, including those in New York. See e.g., Mallory v. U.S. Outlet Stores, LLC., Index
No. 619951/2023 (Sup. Ct. Nassau Cty. Apr. 12, 2024). Settecasi v. Gotham Hall, LLC., Index
No. 152791/2018 (Sup. Ct. N.Y. Cty. Feb. 28, 2024); Walker v. S-Fer International Inc., Index
No. 617294/2023 (Sup. Ct. Nassau Cty. Feb. 26, 2024); Garcia v. Adidas America, Inc., Index
No. 617444/2022 (Sup. Ct. Nassau Cty.; 2024); Alam v. PTL Staffing LLC, Index No. Index No.
605643/2022 (Sup. Ct. Nassau Cty. Nov. 13, 2023); Butler v. Charles River Laboratories, Inc.,
Index (Sup. Ct. Nassau Cty. Nov. 9, 2023); Devi Badlu v. Ulta Salon, Cosmetics & Fragrances,
Inc., Index No. 615149/2023 (Sup. Ct. Nassau Cty. Nov. 6, 2023); Shaw v. ClubCorp Willow
Creek, LLC., Index No. 609331/2023 (Sup. Ct. Nassau Cty. Sept. 18, 2023); Chowdhury v.
Tastes on the Fly New York, LLC., Index No. 609227/2023 (Sup. Ct. Nassau Cty. July 19, 2023);
Rutella v. National Secs. Corp., 2022 N.Y. Misc. LEXIS 2311 (Sup. Ct. Nassau Cty., May 25,
2022) (denying defendants’ summary judgment motion and granting class certification for all
workers in New York at four primary locations dating back to 2010); Zappino v. LT Hospitality
Management, Inc., Index No. 611884/2022 (Sup. Ct. Nassau Cty. Oct. 26, 2022); Dixon v. Blue
Hill at Stone Barns, LLC., Index No. 602878/2022 (Sup. Ct. Nassau Cty. Sept. 23, 2022);
Membrives v. HHC TRS FP Portfolio LLC., Index No. 607828/2015 (Sup. Ct. Nassau Cty. June
8, 2022) (granting Settlement of $7,000,000); Waloven v. W27 Highline Operator, LLC., Index
No. 615616/2021 (Sup. Ct. Nassau Cty. Mar. 16, 2022); Cerda v. Site Works Contracting Corp.,
Index No. 600301/2020 (Sup. Ct. Nassau Cty. Jan. 21, 2022); Luchko v. Barclay Operating
Corp. Index No. 157657/2020 (Sup. Ct. N.Y Cty. Jan. 5, 2022); Ramlochan v. Westchester
Shores Event Holdings, Inc., Index No. 53509/2018 (Sup. Ct. Westchester Cty. Jan. 25, 2021)
(in approving award of attorneys’ fees, court acknowledged “the significant award agreed upon
here comports with the firm’s significant level of experiences and substantial work performed
in the course of the litigation and the settlement process in this action”); Settecasi v. Ark
Restaurant Corp., Index No. 154038/2018 (Sup. Ct. N.Y. Cty., Aug. 3, 2022) (approving class
wide settlement at several catering facilities in New York City); Waloven v. Forty Eight Lounge,
LLC, Index No. 603608/2021 (Sup. Ct. Nassau Cty. Oct. 15, 2021); Cantelmo v. Ravel Hotel
LLC, Index No. 606182/2020 (Sup. Ct. Nassau Cty. Sept. 29, 2021); Robinson v. Wildlife
Conservation Society, Index No. 502823/2019 (Sup. Ct. Kings Cty. Sept. 9, 2021); Villasin v.
Marriott Hotel Services, Inc., Index No. 608511/2017 (Sup. Ct. Nassau Cty. Aug. 16, 2021);
Barnes v. PH New York, LLC, 157340/2018 (Sup. Ct. N.Y. Cty. Apr. 6, 2021); In re Mt. Fuji
Restaurant Class Action Lawsuit, Index No. 614047/2020 (Sup. Ct. Nassau Cty. Mar. 19, 2021);
Islam v. Morgans Hotel Group Management LLC, Index No. 612723/2020 (Sup. Ct. Nassau
Cty. Mar. 18, 2021); Sanchez v. Craft Beekman, LLC, Index No, 154833/2019 (Sup. Ct. N.Y.
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Cty. Mar. 17, 2021); Mauro v. Gurney’s Inn Resort & Spa LLC, Index No. 616077/2019 (Sup.
Ct. Nassau Cty. Mar. 15, 2021); Cedeno v. Hibernia Construction LLC, Index No. 605947/2017
(Sup. Ct. Nassau Cty. Mar. 8, 2021); Gonzalez v. Sterling Caterers, Inc., Index No. 603074/2019
(Sup. Ct. Nassau Cty. Feb. 26, 2019); Padder v. Levy Premium Foodservice Limited
Partnership, Index No. 518187/2018 (Sup. Ct. Kings Cty. Dec. 9, 2020); Gonzalez v. Masgad
Corp., Index No. 607031/2018 (Sup. Ct. Nassau Cty. Oct. 7, 2020); Angulo v. Parm Battery
Park LLC, Index No. 508280/2020 (Sup. Ct. Kings Cty. Sept. 28, 2020); Cortes v. Pacific
Langham New York Corporation, Index No. 154853/2018 (Sup. Ct. N.Y. Cty. June 17, 2020);
Vizcaino v. The Ritz Carlton Hotel Company, L.L.C., Index No. 607281/2016 (Sup. Ct. Suffolk
Cty. May 29, 2020); Pinzon v. Summit Development Corp., Index No. 604025/2016 (Sup. Ct.
Nassau Cty. May 11, 2020); Contreras v. Salem Golf Club Associates, LLC, Index No.
63967/2018 (Sup. Ct. Westchester Cty. Mar. 16, 2020); James-Howell v. Family Residences
and Essential Enterprises, Inc., Index No. 605950/2017 (Sup. Ct. Mar. 11, 2020); Santa Maria
v. Aimbridge Hospitality, LLC, Index No. 2018-51928 (Sup. Ct. Dutchess Cty. Feb. 24, 2020);
Padder v. Logans Sanctuary LLC, Index No. 602455/2018 (Sup. Ct. Nassau Cty. Feb. 19, 2020);
Diaz v. Anvil NY LLC, Index No. 525279/2018 (Sup. Ct. Kings Cty. Jan. 9, 2020); Godfrey v.
The Executive Club LLC, Index No. 512924/2018 (Sup. Ct. Kings Cty. Dec. 18, 2019);
Ramlochan v. Manhasset Bay Yacht Club, Index No. 605618/2018 (Sup. Ct. Nassau Cty. Dec.
11, 2019); Ferguson v. The Lure Group, Index No. 156054/2017 (Sup. Ct. N.Y. Cty. Dec. 3,
2019); Destefano v. Cold Spring Country Club, Inc., Index No. 617008/2017 (Sup. Ct. Suffolk
Cty. Nov. 25, 2019); Ascensio v. Dinosaur Restaurant, LLC, Index No. 154847/2017 (Sup. Ct.
N.Y. Cty. Nov. 12, 2019); Robinson v. Access Food & Beverage, Inc., Index No. 152746/2018
(Sup. Ct. N.Y. Cty. Nov 8, 2019); Contreras v. Dania Marina, Inc., Index No. 5436/2018 (Sup.
Ct. Westchester Cty. Oct. 3, 2019); Posner v. NYS Pool Management Company, Inc., Index No.
609371/2017 (Sup. Ct. Nassau Cty. Sept. 26, 2019); Maria v. Sankara NY, LLC, Index No.
51469/2018 (Sup. Ct. Westchester Cty. Aug. 20, 2019); Settecasi v. Michael Scott Catering
LLC, Index No. 601994/2018 (Sup. Ct. Nassau Cty. Aug. 19, 2019); Torres v. Old Oaks Country
Club, Inc., Index No. 63047/2017 (Sup. Ct. Westchester Cty. Aug. 16, 2019); Ayasi v. Sirena
Restaurant, Inc., Index No. 504596/2019 (Sup. Ct. Kings. Cty. Aug. 7, 2019); Locandro v.
Willow Ridge Country Club, Inc., Index No. 63740/2017 (Sup. Ct. Westchester Cty. July 16,
2019); McShane v. Foxsco Inc., Index No. 607129/2017 (Sup. Ct. Nassau Cty. July 8, 2019);
Maor v. Volume Service America, Inc., Index No. 158298/2014 (Sup. Ct. N.Y. Cty. June 6,
2019); Blue v. MDC Tavern Corp., Index No. 600162/2017 (Sup. Ct. Nassau Cty. May 22,
2019); Fernandez v. Masterpiece Caterers, Corp., Index No. 51469/2018 (Sup. Ct. N.Y. Cty.
May 7, 2019); Montero v. 333 Bayville Avenue Restaurant Corp., Index No. 603760/2017 (Sup.
Ct. Nassau Cty. May 6, 2019); Maor v. GAC Caterers, Inc., Index No. 25669/2017 (Sup. Ct.
Bronx Cty, May 6, 2019); Fredericks v. Derek Lam International LLC, Index No. 154922/2015
(N.Y. Sup. Ct. N.Y. Cty. May 30, 2018); Craparotta v. Ralph Lauren Corporation, Index No.
153553/2015 (N.Y. Sup. Ct. N.Y. Cty. May 1, 2018); Huggins v. Gucci America, Inc., Index
No. 161446/2014 (N.Y. Sup. Ct. N.Y. Cty. Apr. 30, 2018); Jailall v. Diesel U.S.A., Inc., Index
No. 156210/2015 (N.Y. Sup. Ct. N.Y. Cty. Mar. 28, 2018); Podell v. Alexander Wang Global
Retail LLC, Index No. 600355/2015 (N.Y. Sup. Ct. Nassau Cty. Dec. 19, 2017); Smith v. The
Donna Karan Company LLC, Index No. 157912/2013 (N.Y. Sup . Ct. N.Y. Cty. Nov. 13, 2017);
Zarembra v. Gilt Groupe, Inc., Index No. 151631/2017 (N.Y. Sup. Ct. N.Y. Cty. Oct. 25, 2017);
Lass v. Alice (Plus) Olivia, LLC, Index No. 150527/2015 (N.Y. Sup. Ct. N.Y. Cty. Oct. 10,
2017); Warren v. Marc Jacobs International, LLC, Index No. 160107/2014 (N.Y. Sup. Ct. N.Y.
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Cty. Sept. 20, 2017); Kocivar v. Wenner Media LLC, Index No. 150756/2015 (N.Y. Sup. Ct.
N.Y. Cty Aug. 2, 2017); Giraudo v. Dolce & Gabbana, USA, Inc., Index No. 652522/2015 (N.Y.
Sup. Ct. N.Y. Cty Jul. 19, 2017); Awogbile v. Kenneth Cole Productions, Inc., Index No.
161886/2014 (N.Y. Sup. Ct. N.Y. Cty. Jul. 18, 2017); Carden v. IMG Worldwide, LLC, Index
No. 162501/2014 (N.Y. Sup. Ct. N.Y. Cty. May 30, 2017); Mendez v. KCD, Inc., Index No.
155702/2015 (N.Y. Sup. Ct. N.Y. Cty. Jan. 4, 2017); Whitlow v. Burberry Limited, Index No.
150529/2015 (N.Y. Sup. Ct. N.Y. Cty. Nov. 15, 2016); Smith v. Fendi North America, Inc.,
Index No. 151756/2015 (N.Y. Sup. Ct. Nassau Cty. Oct. 19, 2016); Grant v. Warner Music
Group Corp., Case No. 13-CV-449 (PGG) (S.D.N.Y. Mar. 10, 2016); Vitetta v. Sirius XM Radio
Inc., Case No. 14-CV-2926 (VEC) (S.D.N.Y. Feb. 17, 2016); Arias v. Clear Channel
Broadcasting, Inc., Case No. 14-CV-05088 (SN) (S.D.N.Y. Feb. 2, 2016); O'Jeda v. Viacom,
13 Civ. 5658 (JMF)(GWG) (S.D.N.Y Jan. 13, 2016).Villasin v. Glenarbor Golf Club, LLC,
Index No. 608512/2017 (Sup. Ct. Nassau Cty. Apr. 25, 2019); Heale v. Hickory Ridge Golf &
Country Club Inc., Index No. E2017000673 (Sup. Ct. Monroe Cty. Apr. 5, 2019); Salzman v.
Coveleigh Club, Inc., Index No. 608525/2017 (Sup. Ct. Nassau Cty. Apr. 2, 2019); Villasin v.
American Yacht Club, Index No. 608975/2017 (Sup. Ct. Nassau Cty. Jan. 10, 2019); Salzmann
v. Metropolis Country Club, Inc., Index No. 608527/2017 (Sup. Ct. Nassau Cty. Jan. 7, 2019).

         Michael A. Tompkins of Leeds Brown Law is a graduate of the University of North
Carolina – Chapel Hill (B.A.), Indiana University – Bloomington (M.S.), and Hofstra University
School of Law (J.D.) and works for Leeds Brown Law on complex litigation related to class and
collective actions. Mr. Tompkins has also been involved in large-scale class actions and
consumer fraud class actions in various courts. Mr. Tompkins has served as class counsel in
dozens of class actions and has been acknowledged for his involvement in those cases. See e.g.
Malcok v. SEB Service of New York, Inc., Case No. 11-CV-5089(MDG) (E.D.N.Y. March 13,
2017) (“[Mr. Jeffrey K. Brown, Mr. Michael A. Tompkins, Ms. Suzanne Leeds and co- counsel]
have experience litigating class and collective actions based on wage and hour claims.…This
Court observed counsel’s performance in this action … and finds that their performance in both
litigating and settling this case demonstrates their commitment to the classes and to representing
the interests of the classes.”); see also Tart v. Lions Gate Entm’t Corp., 2015 U.S. Dist. LEXIS
139266 at *7 (S.D.N.Y. Oct. 13, 2015) (“Virginia & Ambinder, LLP and Leeds Brown Law,
P.C. are experienced and well-qualified employment and class action lawyers with expertise in
prosecuting and settling labor law cases.”); Cohan v. Columbia Sussex Management, LLC, 2018
U.S. Dist. LEXIS 170192 (E.D.N.Y. Sept. 28, 2018) (“Class counsel [LBL and V&A]are well
known class action employment lawyers who have extensive experience and special expertise
in prosecuting and settling FLSA and NYLL wage and hour cases.”); Garcia v. Exec. Club LLC,
No. 10-cv-1545 (SHS), 2012 U.S. Dist. LEXIS 189823 (S.D.N.Y. May 10, 2012) (“Class
Counsel [V&A and LBL] have experience prosecuting and settling employment class actions,
including wage and hour class actions and are well-versed in wage and hour law and in class
action law.”); Varela v. Building Services Industries, LLC, Index No. 600037/2016 (Sup. Ct.
Nassau Cty. June 21, 2018) (“the Court finds that class counsel [including Michael A.
Tompkins] have established their significant experience prosecuting employment class actions
and their work performed in the representing the interests of the class members in this action.”).
In 2019, Honorable Gretchen Walsh, J.S.C. Commercial Division, Westchester County,
commended Leeds Brown Law, P.C. for its work and vigorous representation of its clients,
including the class, in Contreras v. Dania Marina, Inc., Index No. 54536/2018 (Sup. Ct.
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Westchester Cty., Oct. 3, 2019), when approving the class-wide settlement. Mr. Tompkins has
also spoken at symposiums and events regarding wage violations, class actionsettlements, and
worker protections. Additionally, Mr. Tompkins serves on the Nassau County Comptroller’s
Living Wage Advisory Committee and is admitted to practice in New York State, Eastern
District of New York, Southern District of New York, Northern District of New York, the
Second Circuit Court of Appeals, Fifth Circuit Court of Appeals, and Tenth Circuit Court of
Appeals. Recently, Mr. Tompkins has served as lead or co-lead counsel in several actions that
have resolved themselves in the college COVID refund context. See e.g., Qureshi v. American
Univ., Case No. 1:20-cv-1141-CRC (D.C. Dist. May 7, 2024) (granting final approval of the
class settlement for $5.439M based on the reasonableness and fairness of the settlement);
Stewart v. Univ. of Maine System, Civil Action Dkt. CV20-537 (serving as lead counsel through
class certification, opposing summary judgment, negotiations, and final approval); see also
Arredondo v. Univ. of La Verne, Case No. 2:20-cv-7665(MCS)(RAO) (C.D. Cal) (reflecting one
of the largest per student recoveries in the country after successfully obtaining class certification
and summary judgment on behalf of the class of undergraduate students in the amount of more
than $8.8M in conferred benefits); Porter v. Emerson College, Case No. 1:20-cv-11897-RWZ
(D.Mass. Nov. 27, 2022)(granting final approval of the class action settlement); Booth v. Molloy
College, Index No. 608750/2020 (Sup. Ct. Nassau Cty. Oct. 18, 2023)(granting final approval
of the class action settlement).

       Anthony M. Alesandro of Leeds Brown Law is a graduate of SUNY Albany (B.A.) and
Maurice A. Deane School of Law at Hofstra University (J.D.). Mr. Alesandro has served as part
of the Leeds Brown Law complex litigation team since 2018 during which time he has worked
on several class actions that have resolved in recent years including Contreras v. Dania Marina,
Inc., Index No. 54536/2018 (Sup. Ct. Westchester Cty., Oct. 3, 2019)(“Thank you for all your
efforts on both sides here. I think everybody was vigorously represented in this action. And I
commend counsel for their work as well”); Settecasi v. Ark Restaurants Corp, et. al., Index No.
154038/2018 (Sup. Ct. N.Y. Cty., Oct. 3, 2018); Cedeno et al v. Hibernia Construction, Inc. et
al, Index No. 605947/2017 (Sup. Ct. Nassau Cty. Mar. 12, 2021); among others. Further, Mr.
Alesandro has worked on Leeds Brown Tuition Refund team since March 2020, during which
time Leeds Brown has had success in litigating and settling cases on behalf of students around
the country. See e.g., Dean v. Marvyille Univ. of St. Louis, Cause No. 20SL-CC02850 (Mo. Cir.
Ct., St. Louis Cty. Aug. 8, 2023) (granting class certification with LBL along with co-counsel as
Class Counsel); Booth v. Molloy College, Index No. 608750/2020 (Sup. Ct. Nassau Cty. Oct. 18,
2023)(granting final approval of the class action settlement); Porter v. Emerson College, Case
No. 1:20-cv-11897-RWZ (D.Mass. Nov. 27, 2022)(granting final approval of the class action
settlement); see also Staubus v. Regents of the Univ. of Minnesota, Court File NO. 27-cv-20-8546
(Minn. 4th Jud. Dist., Aug. 29, 2023) (granting final approval); Kincheloe v. Univ. of Chicago,
Case No. 1:20-cv-3015 (N.D. Ill. Aug. 16, 2023) (granting preliminary approval motion due by
Oct. 17, 2023). Mr. Alesandro is admitted to the New York Bar, The Southern District of New
York, and the Eastern District of New York.

       Jeffrey K. Brown of Leeds Brown Law is a graduate of SUNY Albany and Hofstra Law
School, and is the managing partner of Leeds Brown Law. Since his admission to the New York
State Bar in 1997, Mr. Brown has served as lead counsel in hundreds of class actions and
individual cases for unpaid wages, overtime and tips, sexual harassment and employment
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discrimination in the New York City Metropolitan area which have generated millions of dollars
for the Firm’s Clients. Among just a few of his highlights, Mr. Brown served as lead counsel in
a real estate discrimination case, Board of Managers of Vista Tower Condominium v. Roosevelt
Avenue Associates, in which the Firm recovered approximately $19 million on behalf of 135
Asian condominium owners in Flushing, Queens. In other actions, Mr. Brown has been
recognized for his work. See e.g., Colabufo v. CNA Financial Corp., 04-CV-1863(BMC)
(S.D.N.Y. July 31, 2009) (“We’re obviously dealing with high-end lawyers in this case … It
seems like they gave their all to this. It seems like it would be an overstatement to say ‘sweat
blood,’ but it sounds to me like there was a lot of sweating involved on both sides in this and the
plaintiffs, no question, earned their fee in this ... You can’t argue to that unless you point to some
specific infirmity in counsel’s performance and there is no suggestion of that here … [P]laintiffs’
law firms … appeared to have done an excellent job in this, so I don’t have any question about
the adequacy of representation of the class.”).

       Brett R. Cohen of Leeds Brown Law is a graduate of Fordham Univ. School of Law (J.D.)
and the University of Wisconsin-Madison (B.S.), and previously worked under Hon. Arthur M.
Diamond, J.S.C. of New York State Supreme Court Nassau County prior to joining Leeds Brown
Law. Mr. Cohen is admitted to practice in New York, California, and Florida, and has served as
lead counsel for Leeds Brown Law, in several actions that have resolved themselves in recent
years, including for alleged stolen gratuities. See e.g., Aguiar v. Airport Inn Inc., Index No.
603675/2018 (Sup. Ct. Nassau Cty., Feb. 7, 2022) (approving Brett Cohen, Michael Tompkins
and Jeffrey K. Brown as class counsel “based on their experience litigating class actions,
including those under the Labor Law and the Hospitality Wage Order”); Luchko v. Barclay
Operating Corp. Index No. 157657/2020 (Sup. Ct. N.Y Cty. Jan. 5, 2022); Waloven v. Forty
Eight Lounge, LLC, Index No. 603608/2021 (Sup. Ct. Nassau Cty. Oct. 15, 2021); Cantelmo v.
Ravel Hotel LLC, Index No. 606182/2020 (Sup. Ct. Nassau Cty. Sept. 29, 2021); Robinson v.
Wildlife Conservation Society, Index No. 502823/2019 (Sup. Ct. Kings Cty. Sept. 9, 2021);
Villasin v. Marriott Hotel Services, Inc., Index No. 608511/2017 (Sup. Ct. Nassau Cty. Aug. 16,
2021); Barnes v. PH New York, LLC, 157340/2018 (Sup. Ct. N.Y. Cty. Apr. 6, 2021); In re Mt.
Fuji Restaurant Class Action Lawsuit, Index No. 614047/2020 (Sup. Ct. Nassau Cty. Mar. 19,
2021); Islam v. Morgans Hotel Group Management LLC, Index No. 612723/2020 (Sup. Ct.
Nassau Cty. Mar. 18, 2021); Sanchez v. Craft Beekman, LLC, Index No, 154833/2019 (Sup. Ct.
N.Y. Cty. Mar. 17, 2021); Mauro v. Gurney’s Inn Resort & Spa LLC, Index No. 616077/2019
(Sup. Ct. Nassau Cty. Mar. 15, 2021). In one recent case, Judge Terry J. Ruderman acknowledged
Leeds Brown. See Ramlochan v. Westchester Shores Event Holdings, Inc. et. al. Index No.
53509/2018 (N.Y. Sup. Ct. Westchester Cty. April 23, 2020), where the Honorable Terry J.
Ruderman grants class certification and states that Plaintiffs’ counsel “has shown its ability to
manage a class action…”). Brett is admitted in New York, New Jersey, Florida, and California,
along with various United States District Courts in those states.

      In total, Mr. Tompkins, Mr. Alesandro, Mr. Brown, and Mr. Cohen have been involved in
more than 100 class or collective actions settlements,which has resulted in over $100,000,000
available to class members to collect since 2011.
